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 8
                              UNITED STATES BANKRUPTCY COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN JOSE DIVISION
11
      In re                                                Case No. 18-52770
12

13    XTAL INC                                             Chapter 11

14             Debtor.                                     OBJECTION TO DEBTOR’S
                                                           DISCLOSURE STATEMENT AND
15                                                         PLAN OF REORGANIZATION

16                                                         Date: May 2, 2019
                                                           Time: 10:30 a.m.
17                                                         Place: Courtroom 3020

18

19            Creditor Putterman Landry + Yu LLP, now known as Putterman + Yu LLP (“Law

20   Firm”), the holder of an unsecured claim of approximately $526,000, objects to Debtor’s

21   Disclosure Statement (“Disc. Stmt.”) and its Plan of Reorganization (the “Plan”).

22   SUMMARY OF ARGUMENT:

23            The Plan is premised upon the approval and implementation of the settlement

24   agreement (the “Settlement”) between Debtor and ASML. For the reasons set forth in the

25   oppositions filed by Law Firm and the Office of the U.S. Trustee, the Settlement should not be

26   approved. Perhaps recognizing the infirmities of their Settlement, Debtor and ASML continued

27   the hearing on approval of the Settlement to the hearing on the Plan. As the Plan, however, is

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 1   based upon the Settlement, if the Settlement is not approved, the Plan is a non-starter. Without

 2   an approved Settlement, there is no Plan.

 3          In terms of the Plan and Disclosure Statement, Debtor has sought to rush through

 4   approval of the Disclosure Statement and the Plan simultaneously. As discussed below, there

 5   are many questions about the adequacy of disclosure and numerous reasons why the Plan

 6   should not be confirmed.

 7

 8   THE PLAN:

 9          The Plan adopts the terms in the Settlement and includes the following provisions:

10     •   Provides at least $75,000 to ASML;

11     •   Provides $50,000 to be split among all unsecured creditors other than ASML. This
           creditor pool has claims of approximately $1,000,000, so they will be receiving
12
           approximately 5% of their claims;
13

14     •   Cancels are shares in the Debtor

15
       •   Issues the shares in the Reorganized Debtor to a person identified as the Class 3 Claim
16         Equity Designee [Class 3 being ASML] (Disc. Stmt at 8.4);

17
       •   Provides that the new equity shall not vest in ASML, but shall be disclaimed by ASML
18         (8.4);
19
       •   Provides that Mr. Li is the Equity Designee and will hold and control the shares of the
20         Reorganized Debtor and can amend the certificates of incorporation and bylaws as he sees
           fit (Plan at page 17);
21

22     •   Provides cash to the Reorganized Debtor estimated to be between $800,000 - $1,200,000,
23         which are discussed as having value to ASML (Disc. Stmt. At 8.4)

24
       •   Leaves Jiangwei Li as sole officer and director of the reorganized debtor (Disc. Stmt at
25         8.13), though Mr. Li can leave the Reorganized Debtor anytime he wants (8.14);

26     •   Gives ASML and DFJY Debtor’s intellectual property;
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 1     •   Allows prosecution of avoidance actions (without any information of what they are) with
           most of the recovery going to ASML and Jiangwei Li;
 2

 3     •   Finally, provides that Debtor shall receive a discharge upon confirmation even though it
           has no business and will have transferred away all of its intellectual property upon
 4         confirmation if not before.
 5

 6           The Plan is a sham and returns virtually nothing to the unsecured creditors. As the Plan

 7   seems to benefit Debtor’s insiders, it calls into question the motivations behind it. Law Firm,

 8   which holds over half of the unsecured creditor claims in amount, opposes the Plan as will at

 9   least two other creditors.

10   LEGAL ARGUMENT:

11           As Law Firm assumes there will be further briefing on confirmation issues, and given

12   the rushed attempt to confirm the Plan, this objection highlights the relevant legal issues.

13           The Disclosure Statement contains inadequate disclosure in at least the following

14   respects:

15           -   There is a method for splitting the recoveries on avoidance actions, but there is no

16               disclosure about whether there are any such claims;

17           -   There are no disclosures about what if any claims the Debtor may have in general;

18           -   There is no discussion about Debtor’s future business. In fact, there appears to be

19               no future business, as it will have transferred away all of its intellectual property and

20               sold or transferred almost all of its computers and equipment and moved out of all

21               office space;

22           -   The Plan provides for the transfer of an alleged malpractice claim against the Firm,

23               but there is no discussion of the basis of the alleged claim and what if any value it

24               has. Notably, the alleged claim is not included in the liquidation analysis;

25           -   The liquidation analysis is lacking in information. As noted above, there is no

26               information about potential avoidance actions. The analysis values the Debtor’s

27               intellectual property at $5 million but provides no explanation for doing so. The

28               analysis includes $500,000 in legal fees for Chapter 7 trustee’s counsel with no

               explanation as to why the fees would be that high. Includes priority claims of
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 1               $100,000 though the Disclosure Statement’s discussion of priority claims (see page

 2               12) asserts that there are no claims.

 3          -    Pursuant to the Settlement, ASML is given an allowed claim of $224,330,000 but

 4               there is no information upon which a creditor can determine if that amount is

 5               appropriate;

 6          -    Provides that all settlement agreements are executory contracts which will be

 7               assumed, but gives no explanation of why this is so or the purpose of so construing

 8               any post-petition settlement (Disc. Stmt at page 17);

 9          -    Provides that Debtor’s counsel fees are $1.3 million (to which ASML agrees not to

10               object), which seem incredibly high for a case that has moved relatively quickly and

11               for a company that is not operating in Chapter 11;

12          -    Notes that the cash given to the Reorganized Debtor cannot be used in a distribution

13               to the equity holders of the Reorganized Debtor (apparently only Mr. Li), but given

14               that Mr. Li will continue on at the same salary level as he had pre-petition, even

15               though there does not appear to be a company to operate, what is the difference

16               between the salary and any restriction on distributions to equity;

17          -    Notes that the treatment of all claims under the Plan will be treated as a compromise

18               of controversy under Bankruptcy Rule 9019. There is no discussion or explanation

19               about the reason for including such a provision and no discussion about whether the

20               Plan’s treatment of creditors can meet the standards of a Rule 9019 motion;

21          -    Fails to explain for basis for the Debtor to receive a discharge under Bankruptcy

22               Code Section 1141(d).

23          Turning now to some of the Plan specifics, the Law Firm contends the following are

24   improper:

25          1)      The Plan violates the absolute priority rule. As noted above, the cancellation of

26   the shares is a sham, as Mr. Li will receive all the shares of the Reorganized Debtor. He will
27   remain on as the sole director and officer. As such, in practical terms he is retaining his interest

28   in the company. Debtor presents no legal basis for Mr. Li’s retention of his interests and, given

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 1   that creditors are not being paid in full and object to confirmation, he cannot retain any interest

 2   without violating the absolute priority rule.

 3           2)      The Reorganized Debtor will initially receive 19.95% of any recoveries from

 4   avoidance actions and, if certain milestones are achieved, will receive 49.975% of recoveries.

 5   Given that unsecured creditors are receiving approximately 5% of their claims, why would

 6   avoidance action recoveries go to the Reorganized Debtor. Given that the Reorganized Debtor

 7   appears to be no more than Mr. Li, this treatment of avoidance recoveries also appears to

 8   violate the absolute priority rule.

 9           3)      Debtor intends to cramdown the Plan if any class rejects the Plan. Given Law

10   Firm’s vote against the Plan, Class 4 will be rejecting the Plan. How does Debtor intend to

11   meet the cramdown standards?

12           4)      There is no basis for Debtor to receive a discharge. There is no ongoing

13   business. Bankruptcy Code Section 1141(d)(3) provides that Debtor will not receive a

14   discharge if the plan provides for the liquidation of all or substantially all of the assets, or if

15   Debtor does not engage in business after confirmation. Law Firm contends that both of these

16   exceptions to discharge apply. Either through the Plan or pre-confirmation settlements, Debtor

17   will have liquidated its operations. It will not engage in business after confirmation in any

18   meaningful or normally understood use of that phrase. As such, it is not entitled to a discharge.

19           5)      The Plan provides at 12.07 that neither the Debtor nor the Reorganized Debtor

20   shall pursue claims against any person or entity that seek to pierce the corporate veil on behalf

21   of the Debtor’s estate. There is no explanation of what this provision means or why it is being

22   included in the Plan. (see also Disc. Stmt. at 13.7)

23           6)      For the reasons set forth above, the Plan is not brought in good faith and cannot

24   meet the requirement of Bankruptcy Code Section 1129(a)(3).

25   CONCLUSION:

26           The Plan and the Settlement appear to be a convoluted strategy to benefit ASML and
27   Mr. Li to the detriment of Law Firm and other unsecured creditors. It is difficult to conclude

28   that the Settlement and the Plan are the result of management exercising its fiduciary duties on

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 1   behalf of the creditors. Based on the above discussion, Law Firm urges this Court to deny

 2   approval of the Disclosure Statement or confirmation of the Plan.

 3   Dated: April 18, 2019                               FINESTONE HAYES LLP

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 5                                                       /s/ Stephen D. Finestone
                                                         Stephen D. Finestone
 6                                                       Attorneys for Putterman + Yu

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